Case 1:22-cr-00145-PAB Document 45-2 Filed 03/29/23 USDC Colorado Page 1 of 5



                                            EXHIBIT 2

England Firearm Disqualification Laws.

     Year    Jurisdiction   Source                               Available at
                            1 W. & M., Sess. 1, c. 15, in 6      https://heinonline.org/HOL
     16891   England        The Statutes of the Realm 71-72      /P?h=hein.engrep/realm0
                            (Eng. 1688)                          006&i=95
                                                                 https://heinonline.org/HOL
                            1 W. & M., Sess. 2, c. 2, in 6 The
     16892   England                                             /P?h=hein.engrep/realm0
                            Statutes of the Realm 143 (Eng.
                            1688)                                006&i=169

Colonial America Firearm Disqualification Laws.

     Year    Jurisdiction   Source                               Available at
                                                                 https://link.gale.com/apps
     1639    New                                                 /doc/DT0102502152/GD
             Netherland     Laws and Ordinances of New
                                                                 CS?u=wash50473&sid=b
                            Netherland, 1638-1674, at 18-19
                                                                 ookmark-
                            (1868)
                                                                 GDCS&xid=b64b52ae&p
                                                                 g=50
                                                                 https://link.gale.com/apps
                                                                 /doc/DT0104280545/MM
                            1 The Statutes at Large; Being A     LP?u=wash50473&sid=b
     1642-
             Virginia       Collection of All the Laws of        ookmark-
     1643
                            Virginia 255-56 (1823)               MMLP&xid=79e81a61&p
                                                                 g=279
                                                                 https://heinonline.org/
     1675    Plymouth       5 Records of the Colony of New       HOL/P?h=hein.amindi
                            Plymouth 173 (1856)                  an/recnply0003&i=183



 1     See 14 Journals of the House of Lords 1685-1691, at 208-09 (1767-1830) (reflecting
 enactment on May 11, 1689), available at https://www.british-history.ac.uk/lords-
 jrnl/vol14/pp208-209 (last visited Mar. 27, 2023).
 2     See Legislation.gov.uk, Bill of Rights [1688],
 https://www.legislation.gov.uk/aep/WillandMarSess2/1/2 (last visited Mar. 27, 2023)
 (reflecting enactment on December 16, 1689).




                                             1
Case 1:22-cr-00145-PAB Document 45-2 Filed 03/29/23 USDC Colorado Page 2 of 5




                                                            https://link.gale.com/app
                        2 Records of the Colony of          s/doc/DT0103439491/G
                        Rhode Island and Providence         DCS?u=wash50473&sid
 1677    Rhode Island
                        Plantations in New England 561      =bookmark-
                        (1857)                              GDCS&xid=fde7442e&p
                                                            g=563
                                                            https://link.gale.com/app
                                                            s/doc/DT0104281169/M
                        2 The Statutes at Large; Being A
                                                            MLP?u=wash50473&sid
 1680    Virginia       Collection of All the Laws of
                                                            =bookmark-
                        Virginia 481-82 (1823)
                                                            MMLP&xid=bfee8024&p
                                                            g=479
                        The Grants, Concessions, and
                                                            https://heinonline.org/H
                        Original Constitutions of the
                                                            OL/P?h=hein.sstatutes/
 1694    New Jersey     Province of New Jersey
                                                            grcopna0001&i=344
                        340-41 (1753)

                        2 The Statutes at Large of         https://heinonline.org/H
 1705-
         Pennsylvania   Pennsylvania from 1682 to 1801, at OL/P?h=hein.sstatutes/
 1706
                        235-36 (1896)                      statspa0002&i=239
                                                            https://link.gale.com/apps/d
                                                            oc/DT0103715440/GDCS?
                        6 The Public Records Of The         u=wash50473&sid=bookm
 1723    Connecticut
                        Colony Of Connecticut 381-82        ark-
                        (1872)                              GDCS&xid=90765624&pg
                                                            =385
                                                            https://heinonline.org/HO
                        Laws of New York From The Year
 1730    New York       1691 to 1751, Inclu[s]ive 199       L/P?h=hein.nysstatutes/l
                        (1752)                              ofney0001&i=211




                                        2
Case 1:22-cr-00145-PAB Document 45-2 Filed 03/29/23 USDC Colorado Page 3 of 5




                       A Complete Revisal of All the Acts       https://heinonline.org/HO
                       of Assembly, of the Province of          L/P?h=hein.sstatutes/co
 1753   North Carolina North- Carolina, Now in Force and
                                                                mprevnc0001&i=166
                       Use 152-53 (1773)
                       7 The Statutes at Large; Being A      https://heinonline.org/HOL
 1756   Virginia       Collection of All the Laws of Virginia/P?h=hein.ssl/slrgvir0007
                       35-38 (1820)                          &i=35
                          6 The Statutes at Large of         https://heinonline.org/HOL
 1763   Pennsylvania      Pennsylvania from 1682 to 1801, at /P?h=hein.sstatutes/stats
                          319-20 (1899)                      pa0006&i=319

Revolutionary War Firearm Disqualification Laws.

 Year    Jurisdiction      Source                               Available at
                           The Public Records of the            https://heinonline.org/HOL
 1775    Connecticut       Colony of Connecticut 193            /P?h=hein.beal/purecoco0
                           (1890)                               015&i=197
                                                                https://heinonline.org/HOL
         Continental   4 Journals of the Continental
 1776    Congress      Congress 1774-1789, at 205               /P?h=hein.congrec/jcc000
                       (1906)                                   4&i=205
                       5 The Acts and Resolves, Public https://heinonline.org/HO
 1776    Massachusetts and Private, of the Province of the L/P?h=hein.sstatutes/act
                       Massachusetts Bay 479-84 (1886) resp0005&i=479
                                                             https://link.gale.com/apps/d
                                                             oc/DT0103713235/MMLP?u
                           7 Records of the Colony of Rhode
                                                             =wash50473&sid=bookmar
 1776    Rhode Island      Island and Providence Plantations
                                                             k-
                           in New England 567 (1862)
                                                             MMLP&xid=26014800&pg=
                                                             571
                           1 The Public Acts of the             https://heinonline.org/HO
 1777    North Carolina    General Assembly of North-           L/P?h=hein.sstatutes/pb
                           Carolina 231 (1804)                  actnc0001&i=235




                                          3
Case 1:22-cr-00145-PAB Document 45-2 Filed 03/29/23 USDC Colorado Page 4 of 5




                            Acts of the General Assembly of      https://heinonline.org/H
   1777    New Jersey       the State of New-Jersey 90           OL/P?h=hein.ssl/ssnj02
                            (1777)                               19&i=10
                            9 The Statutes at Large of           https://heinonline.org/HO
   1777    Pennsylvania     Pennsylvania from 1682 to 1801, at   L/P?h=hein.sstatutes/stat
                            112-13 (1903)                        spa0009&i=112
                            9 The Statutes at Large; Being A     https://heinonline.org/
   1777    Virginia         Collection of All the Laws of        HOL/P?h=hein.ssl/slrg
                            Virginia 282 (1821)                  vir0009&i=282

   State Constitutional Provisions Cited.
                            Pa. Declaration of Rights of 1776    https://search.ebscohost.
                            § XIII, in The Complete Bill of      com/login.aspx?direct=tr
                            Rights: The Drafts, Debates,         ue&db=nlebk&AN=10004
   1776    Pennsylvania
                            Sources, & Origins 278 (Neil H.      54&site=ehost-
                            Cogan ed., 2d ed.,                   live&ebv=EB&ppid=pp_2
                            2014)                                78
                                                                 https://search.ebscohost.
                            N.C. Declaration of Rights of        com/login.aspx?direct=tr
                            1776 § XVII, in The Complete Bill    ue&db=nlebk&AN=10004
   1776    North Carolina   of Rights, supra, at 277-78          54&site=ehost-
                                                                 live&ebv=EB&ppid=pp_2
                                                                 77
                                                                 https://search.ebscohost.
                         Mass. Const. of 1780, pt. I, art.       com/login.aspx?direct=tr
                         XVII, in The Complete Bill of           ue&db=nlebk&AN=10004
   1780    Massachusetts Rights, supra, at 277
                                                                 54&site=ehost-
                                                                 live&ebv=EB&ppid=pp_2
                                                                 77

  Ratification Debates Sources.

   Year    Jurisdiction     Source                               Available at
                            2 Bernard Schwartz, The Bill of      https://heinonline.org/H
   1787    Pennsylvania     Rights: A Documentary History 665    OL/P?h=hein.beal/blorh
                            (1971)                               s0002&i=51
                                                                 https://heinonline.org/H
   1788    Massachusetts Schwartz, supra, at 681                 OL/P?h=hein.beal/blorh
                                                                 s0002&i=67


                                          4
Case 1:22-cr-00145-PAB Document 45-2 Filed 03/29/23 USDC Colorado Page 5 of 5




                                                                https://heinonline.org/H
           New            Schwartz, supra, at 761
   1788                                                         OL/P?h=hein.beal/blorh
           Hampshire
                                                                s0002&i=147

  Felony Punishment Laws.

   Year    Jurisdiction   Source                                Available at
                          4 William Blackstone,                 https://heinonline.org/HO
   N/A     England        Commentaries on the Laws of           L/P?h=hein.beal/blakston
                          England 95 (1769)                     0004&i=103
                                                                https://heinonline.org/H
   1776-                  A Digest of the Laws of Maryland
           Maryland                                             OL/P?h=hein.sstatutes/
   1778                   255-56 (1799)
                                                                dlmarba0001&i=259
                          9 The Statutes at Large; Being a      https://heinonline.org/H
                          Collection of All the Laws of         OL/P?h=hein.ssl/slrgvir
   1777    Virginia
                          Virginia, from the First Session of   0009&i=302
                          the Legislature 302 (1821)
                          2 Laws of the State of New York       https://heinonline.org/H
                          Passed at the Sessions of the         OL/P?h=hein.newyork/l
   1786    New York
                          Legislature (1785-1788), at 260-61    wnysleg0002&i=264
                          (1886)
                          2 Laws of the State of New York       https://heinonline.org/H
                          Passed at the Sessions of the         OL/P?h=hein.newyork/l
   1788    New York
                          Legislature (1785-1788), at 664-66    wnysleg0002&i=668
                          (1886)
                          An Act for the Punishment of          https://heinonline.org/HO
                          Certain Crimes Against the United     L/P?h=hein.statute/sal00
   1790    Federal
                          States, ch. 9, 1 Stat. 112-15         1&i=234
                          (1790)




                                         5
